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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

                                                                                              03/18/20
GRAHAM CHASE ROBINSON,

      PLAINTIFF,

                               -- against --                 Case No. 1:19-cv-09156 (LJL) (KHP)

ROBERT DE NIRO AND CANAL
PRODUCTIONS, INC.,

      DEFENDANTS.


                STIPULATION AND PROPOSED PROTECTIVE ORDER

       WHEREAS, the Parties having agreed to the following terms of confidentiality, and the
Court having found that good cause exists for the issuance of an appropriately tailored
confidentiality order pursuant to Rule 26(c) ofthe Federal Rules of Civil Procedure, it is hereby

       ORDERED that the following restrictions and procedures shall apply to the information
and documents exchanged by the parties in connection with the pre-trial phase of this action:

    1. Counsel for any party may designate any document or information, in whole or in part, as
       confidential if counsel determines, in good faith, that such designation is necessary to
       protect the interests of the client in information that is proprietary, a trade secret or
       otherwise sensitive non-public information. Information and documents designated by a
       party as confidential will be stamped "CONFIDENTIAL." A party may designate portions
       of deposition transcripts as confidential either by (a) indicating on the record during the
       deposition that a question calls for, or a previous response provided, information that
       constitutes Confidential Information (so long as the designating party states clearly where
       each confidentiality designation begins and ends) or (b) notifying all counsel of record, in
       writing, within 30 days after a deposition has concluded, of the specific pages and lines of
       the transcript that are to be designated "CONFIDENTIAL"; the entire deposition transcript
       shall be treated as confidential during the 30-day period following a deposition.

    2. The Confidential Information disclosed will be held and used by the person receiving such
       information solely for use in connection with the action.

    3. In the event a party challenges another party's designation of confidentiality, counsel shall
       make a good faith effort to resolve the dispute, and in the absence of a resolution, the
       challenging party may seek resolution by the Court. Nothing in this Protective Order
       constitutes an admission by any party that Confidential Information disclosed in this case
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   is relevant or admissible. Each party reserves the right to object to the use or admissibility
   of the Confidential Information.

4. The parties should meet and confer if any production requires a designation of "For
   Attorneys' or Experts' Eyes Only." All other documents designated as
   "CONFIDENTIAL" shall not be disclosed to any person, except:

       a. The requesting party and counsel representing the requesting party in this litigation,
          including general counsel;
       b. Employees of such counsel assigned to and necessary to assist in the litigation;
       c. Outside vendors and service providers (such as copy-service providers and
          document-management consultants) that counsel hire and assign to this litigation;
       d. Consultants or experts assisting in the prosecution or defense of the matter, to the
          extent deemed necessary by counsel;
       e. Stenographers and videographers engaged in connection with depositions the
          parties conduct in this litigation;
       f. Any mediator or arbitrator that the parties engage formaiiy, in writing, in this
          litigation or that this Court appoints; and
       g. The Court (including any person having access to any Confidential Information by
          virtue of his or her position with the Court).

5. Prior to disclosing or displaying the Confidential Information to any person, counsel must:

       a. Inform the person of the confidential nature ofthe information or documents;
       b. Inform the person that this court has enjoined the use of the information or
          documents by him/her for any purpose other than this litigation and has enjoined
          the disclosure of the information or documents to any other person; and
       c. Require each such person to sign an agreement to be bound by this Order in the
          form attached hereto.

6. The disclosure of a document or information without designating it as "confidential" shall
   not constitute a waiver of the right to designate such document or information as
   Confidential Information. If so designated, the document or information shall thenceforth
   be treated as Confidential Information subject to all the terms ofthis Stipulation and Order.

7. Any Personally Identifying Information ("PII") (e.g., social security numbers, financial
   account numbers, passwords, and information that may be used for identity theft)
   exchanged in discovery shall be maintained by the receiving party in a manner that is secure
   and confidential and shared only with authorized individuals in a secure manner. The
   producing party may specify the minimal level of protection expected in the storage and
   transfer of its information. In the event the party who received PII experiences a data
   breach, it shall immediately notify the producing party of same and cooperate with the
   producing party to address and remedy the breach. Nothing herein shall preclude the
   producing party from asserting legal claims or constitute a waiver of legal rights and
   defenses in the event of litigation arising out of the receiving party's failure to appropriately
   protect PII from unauthorized disclosure.
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   8. Pursuant to Federal Rule of Evidence 502, the production of privileged or work-product
      protected documents or communications, electronically stored information ("ESI'') or
      information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege
      or protection from discovery in this case or in any other federal or state proceeding. This
      Order shall be interpreted to provide the maximum protection allowed by Federal Rule of
      Evidence 502(d). Nothing contained herein is intended to or shall serve to limit a party's
      right to conduct a review of documents, ESI or information (including metadata) for
      relevance, responsiveness and/or segregation of privileged and/or protected information
      before production.

   9. Notwithstanding the designation of information as "confidential" in discovery, there is no
      presumption that such information shall be filed with the Court under seal. The parties shall
      follow the Court's procedures with respect to filing under seal.

   10. At the conclusion of litigation, Confidential Information and any copies thereof shall be
       promptly (and in no event later than 30 days after entry of final judgment no longer subject
       to further appeal) returned to the producing party or certified as destroyed, except that the
       parties' counsel shall be permitted to retain their working files on the condition that those
       files will remain protected.

   11. Nothing herein shall preclude the parties from disclosing material designated to be
       Confidential Information if otherwise required by law or pursuant to a valid subpoena.

SO STIPULATED AND AGREED.

Dated: March 17, 2020




                                                   By:
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SO ORDERED.

                                          Katharine H. Parker, U.S.M.J.
Dated: 03/18/20
      New York, New York
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                                           Agreement

        I have been informed by counsel that certain documents or information to be disclosed to
me in connection with the matter entitled Robinson v. De Niro eta!., Case No. 1: 19-cv-09156
(S.D.N.Y.) have been designated as confidential. I have been informed that any such documents
or information labeled "CONFIDENTIAL" are confidential by Order of the Court.

         I hereby agree that I will not disclose any information contained in such documents to
any other person. I further agree not to use any such information for any purpose other than this
litigation.

DATED:




Signed in the presence of:



(Attorney)
